                                  1   Jonathan Sanders (No. #228785)
                                      SIMPSON THACHER & BARTLETT LLP
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                                      Palo Alto, CA 94304
                                  3   Telephone: (650) 251-5000
                                      Facsimile: (650) 252-5002
                                  4
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                                  5   Nicholas Goldin
                                      Kathrine A. McLendon
                                  6   Jamie J. Fell
                                      SIMPSON THACHER & BARTLETT LLP
                                  7   425 Lexington Avenue
                                      New York, NY 10017
                                  8   Telephone: (212) 455-2000
                                      Facsimile: (212) 455-2502
                                  9
                                      Counsel for the Board of Each of PG&E Corporation and
                                 10   Pacific Gas and Electric Company and for Certain
                                      Current and Former Independent Directors
                                 11
Simpson Thacher & Bartlett LLP




                                                             UNITED STATES BANKRUPTCY COURT
                                 12                          NORTHERN DISTRICT OF CALIFORNIA
     New York, NY 10017
      425 Lexington Ave




                                 13                               SAN FRANCISCO DIVISION

                                 14
                                                                                     Bankruptcy Case
                                 15   In re:                                         No. 19-30088 (DM)

                                 16                                                  Chapter 11
                                      PG&E CORPORATION,
                                 17                                                  (Lead Case)
                                               - and –
                                 18                                                  (Jointly Administered)
                                      PACIFIC GAS AND ELECTRIC
                                 19   COMPANY,                                       CERTIFICATE OF NO OBJECTION
                                                                                     REGARDING SECOND MONTHLY FEE
                                 20                                                  STATEMENT OF SIMPSON THACHER &
                                                                  Debtors.           BARTLETT LLP FOR ALLOWANCE AND
                                 21                                                  PAYMENT OF COMPENSATION AND
                                       Affects PG&E Corporation                     REIMBURSEMENT OF EXPENSES FOR
                                 22    Affects Pacific Gas and Electric Company     THE PERIOD OF MAY 1, 2019 THROUGH
                                       Affects both Debtors                         MAY 31, 2019
                                 23
                                                                                       Re: Docket No. 3319
                                      * All papers shall be filed in the Lead Case No.
                                 24
                                      19-30088 (DM).                                   Objection Deadline: August 21, 2019
                                 25                                                                        4:00 pm (Pacific Time)

                                 26

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                                      Case: 19-30088     Doc# 3717     Filed: 08/27/19    Entered: 08/27/19 11:37:01     Page 1 of
                                                                                   4
                                  1           On July 31, 2019, Simpson Thacher & Bartlett LLP (“Simpson Thacher”), counsel for

                                  2   (i) the Board of Directors (the “Board”) of each of PG&E Corporation and Pacific Gas and

                                  3   Electric Company (the “Debtors”), as the Board may be constituted from time to time, and for

                                  4   the members of the Board from time to time in their capacities as members of the Board, and (ii)

                                  5   certain current and former independent directors in their individual capacities who serve or

                                  6   served as independent directors prior to and/or as of the Petition Date (as defined below) (each

                                  7   an “Independent Director” and collectively, the “Independent Directors”), filed its Second

                                  8   Monthly Fee Statement of Simpson Thacher & Bartlett LLP for Allowance and Payment of

                                  9   Compensation and Reimbursement of Expenses for the Period May 1, 2019 through May 31,

                                 10   2019, pursuant to the Order Pursuant to 11 U.S.C. §§ 331 and 105(a) and Fed. R. Bankr. P.

                                 11   2016 for Authority to Establish Procedures for Interim Compensation and Reimbursement of
                                      Expenses of Professionals, dated February 27, 2019 [Docket No. 701] (the “Interim Procedures
Simpson Thacher & Bartlett LLP




                                 12
                                      Order”).
     New York, NY 10017




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      425 Lexington Ave




                                 14           The Second Monthly Fee Statement was served as described in the Certificate of Service

                                 15   of Alain B. Francoeur [Docket No. 3378]. The deadline to file responses or oppositions to the

                                 16   Second Monthly Fee Statement was August 21, 2019 at 4:00 pm (PT), and no oppositions or

                                 17   responses have been filed with the Court or received by Simpson Thacher. Pursuant to the

                                 18   Interim Compensation Order, the Debtors are authorized to pay Simpson Thacher eighty percent

                                 19   (80%) of the fees and one hundred percent (100%) of the expenses requested in the Second

                                 20   Monthly Fee Statement upon the filing of this certification without the need for a further order of

                                 21   the Court. A summary of the fees and expenses sought by Simpson Thacher is annexed hereto as

                                 22   Exhibit A.

                                 23           The undersigned hereby declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury,

                                 24   that:

                                 25                  1.     I am a counsel at the law firm Simpson Thacher & Bartlett LLP, counsel

                                 26   to the Board and the Independent Directors.

                                 27

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                                                                                     4
                                  1                 2.      I certify that I have reviewed or caused the review of the Court’s docket in

                                  2   these chapter 11 cases and that Simpson Thacher has not received any response or opposition to

                                  3   the Second Monthly Fee Statement.

                                  4                 3.      This declaration was executed in Palo Alto, California.

                                  5

                                  6
                                                                                       SIMPSON THACHER & BARTLETT LLP
                                  7
                                       Dated: August 27, 2019                          /s/ Jonathan Sanders
                                  8
                                              Palo Alto, California                    Jonathan Sanders (No. 228785)
                                  9
                                                                                       Counsel for the Board of Each of PG&E
                                 10                                                    Corporation and Pacific Gas and Electric
                                                                                       Company and for Certain Current and Former
                                 11                                                    Independent Directors
Simpson Thacher & Bartlett LLP




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     New York, NY 10017




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      425 Lexington Ave




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                                                                                    4
                                  1                                                      Exhibit A

                                  2
                                                                                                                              Total Amount of
                                  3                               Total Compensation and
                                                                                                   Total Amount of Fees
                                                                                                                           Expenses Authorized to
                                                                                                   Authorized to be Paid                            Holdback Fees
                                                                Expenses Incurred for Period                                 be Paid Pursuant to
                                  4       Date                                                      Pursuant to Interim                               Amount
                                                     Period              Covered                                           Interim Compensation
                                        Statement                                                  Compensation Order
                                                    Covered                                                                        Order
                                  5       Filed
                                                                                                           Fees                   Expenses
                                                                   Fees          Expenses                                                           Fees (@ 20%)
                                  6                                                                      (@ 80%)                 (@ 100%)

                                  7
                                                    05/01/19
                                        July 31,
                                  8      2019
                                                        -       $490,889.50      $9,877.60             $392,711.60               $9,877.60           $98,177.90
                                                    05/31/19
                                  9

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Simpson Thacher & Bartlett LLP




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     New York, NY 10017




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      425 Lexington Ave




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